DATE: September 6, 2022


             The following cases in which the Court of Appeals issued published opinions have been
          disposed of by the Supreme Court:

          1. Stephen James Kilpatrick
             v. Commonwealth of Virginia
             Record No. 2043-19-3
             Opinion rendered by Judge Huff
               on May 4, 2021
             Judgment of Court of Appeals reversed and judgment of trial court affirmed
               by published order entered on August 4, 2022
                     (210530)

          2. Richard Roosevelt Hill
             v. Commonwealth of Virginia
             Record No. 0562-20-2
             Opinion rendered by Judge Humphreys
               on May 18, 2021
             Judgment of Court of Appeals affirmed by opinion rendered on August 11, 2022
             (210569)
